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Unitcd States ofAmerica
v.

BAHAR GHARlB-DANESH, D.C.
Dcf€rrtt'rmt

 

wAlvER OF AN lNDlCTMENT

I understand that l have been accused of one or more offenses punishable by imprisonment for more than one
year. l was advised in open court ofmy rights and the nature of the proposed charges against mc.

After receiving this advice, l waive my right to prosecution by indictment and consent to prosecution by
information

Datc: t v\/Le 2_%~' Lai%

 

 

RICHARD MOSS, Esq; nd DANlEL A. BACON, Esq.

Prr`rttert name of defendant ’s attorney

f _'.EQ

\_Mge ’S _\tt`§u}ttztrc

 

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Lawrcnce J. O'Ncill, United Slates District Judge

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A notary public or other officer completing this certilicate verifies only the identity of the individual who signed the document
to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document

 

 

 

 

 

 

State of Ca|ifornia

goumy Of Los Ange|es

On 06/28/2018 before me, Andrea Chavez , Notary Pub|ic`
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Nome(s) af Signer(S)

 

 

who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s} is/are subscribed
to the within instrument and acknowledged to me that heisheithey executed the same in histheritheir
authorized capacity(ies), and that by histheritheir signature(s) on the instrument the person(s), or the entity
upon behalf of which the person(s) acted. executed the instrument

l certify under PE|\_|ALTY OF PERJURY under the
laws of the State of Ca|ifornia that the foregoing

 
  
 

     
 

ANDREA CHAVEZ

_- ' Commission # 20?3933 z paragraph is true and c rect.
.' "‘ 5 ` Notary Public - Calilornia §
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|Zl individual Cl Attorney in Fact |Il dual L`_l Attorney in Fact

|Zl Trustee ij Guardian oiConservator l:l Trustee El Guardian of Conservator
l:l Other: |Il Other:

Signer is Representing: Signer is Representing: §

  

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